JS 44 (Rev 04/21)                          Case 2:23-cv-01727 Document
                                                           CIVIL COVER 1-1 SHEET
                                                                            Filed 11/10/23 Page 1 of 3
The JS 44 civil cove r sheet and the information contained herein ne ither replace nor supp lement the filing and service of pleadings or other papers as required by law , except as
prov ided by local ru les of court . This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet . (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM )
I. (a) PLAINTIFF S                                                                                             DEFENDANT S
       STEV EN HORN , individually and on behalf of all ot hers
                                                                                                               AMAZON.CO M, INC ., a Delawa re corporation,
       similarly situated ,
   (b) County of Residence ofFirst Listed Plaintiff Washo e Cnty., NV                                          County of Residence of First Listed Defendant
                                 (EXCEPT IN US. PLAINTIFF CASES)                                                                     (IN US PLAINTIFF CASES ONLY)
                                                                                                              NOTE :     IN LAND CONDEMNATION CASES , USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED

    (C} Attorneys (Firm Name, Address, and Telephone Number)                                                    Attorneys (If Known)

           Todd Loga n, Edelson PC, 150 Califo rnia St. , 18th Fl., San
           Francisco, CA 94111; 415 .212 .9300
II . BASIS OF JURISDI CTIO N (Placean "X " inOneBoxOnl y)                                        ill . CITIZENS HIP OF PRINCIPAL PARTIE S (Place an "X"inOneBoxforP                                  laintiff
                                                                                                           (For Diversity Cases Only)                                     and One Box/or Defendant)
0   1 US Government                    0 3     Federal Question                                                                     PTF           DEF                                      PTF      DEF
        Plaintiff                                (US . Government Not a Party)                       Citizen of This State            ID         D      Incorporated or Principal Place       D 4 ~4
                                                                                                                                                           of Business In This State

0   2   US Government                  ~   4   Diversity                                             Citizen of Another State          ~2        D 2 Incorporated and Principal Place         D 5 D5
          Defendant                              (Indicate Citftenship of Parties in Item III)                                                              of Business In Another State

                                                                                                     Citizen or Subject of a           D 3 D 3 Foreign Nation                                 D6       0   6
                                                                                                       Foreign Country
IV . NATURE OF SUIT (Placean "X " inOneBoxOnl y)                                                                                           Click here for: Nature of Suit Code Descri tions .
            CONTRACT                                                TORTS                                     FORFEITURE/PENALTY                     BANKRUPTCY                     OTHER STATUTE S
                                                                                                                                             O

~
    110 Insurance                       PERSONAL INJURY                      PERSONAL INJURY                   625 Drug Related Seizure           422 Appeal 28 USC 158          375 False Claims Act
    120Marine                           310Airplane                  O       365Personallnjury -                     ofProperty21 USC881      0 423Withdrawa l                   376Qu i Tam(31 USC
    130 Miller Act                      315 Airplane Product                       Product Liability           690 Other                              28 USC 157                      3729(a) )
    140 Negotiable Instrument                 Liability              O       367 Health Care/                                                       INTELLE CTUAL                400 State Reapportionment
D   150 Recovery of Overpayment         320 Assau lt, Libel &                     Pharmaceutical                                              1=-P_R_O_P_E_R_TY_RI_G_BT_ S_-t--l 4 10 Antitrust
        & Enforcement of Judgment             Slander                             Personal Injury                                            O    820 Copyrights                 430 Banlcs and Banking
D   151 Medicare Act                    330 Federa l Employers '                  Product Liability                                          D    830 Patent                     450 Commerce
D   152 Recovery of Defaulted                 Liability              D       368 Asbestos Personal                            D                   835 Patent . Abbreviated       460 Deportat ion
         Student Loans                  340 Marine                                 Injury Product                                                     New Drug Application       470 Racketeer Influenced and
        (Excludes Veterans )            345 Marine Product                         Liability         1-------,,,..,.,,,=,-------1,D               840 Trademark                       Corrupt Organizations
D   153 Recovery of Overpayment               Liability                    PERSONAL PROPERTY                             LABORO                   880 Defend Trade Secrets       480 Consumer Credit
        of Veteran ' s Benefits         350 Motor Vehicle            D       370 Other Fraud                   710 Fair Labor Standards               Act of 2016                     (15 USC 1681 or 1692)
D   160 Stockho lders' Suits            355 Motor Vehicle            D       371 Truth in Lending                   Act                                                          485 Telephone Consumer
D   190 Other Contract                       Product Liability          ~ 380 Other Personal                   720 Labor/Management                SOCIAL SECURITY                    Protection Act
D   195 Contract Product Liability      360 Other Personal                        Property Damage                    Relations                ~ 861 HlA ( 1395ft)                490 Cable/Sat TV
D   196 Franchise                            Injury                  D       385 Property Damage               740 Railway Labor Act              862 Black Lung (923)           850 Securities/Commodit ies/
                                        362 Personal Injury ·                     Product Liability            75 1 Family and Medical            863 DIWC/DIWW (405(g))              Exchange
                                            Medical Malprac.tice                                                     Leave Act                    864 SSID Title XVI             890 Other Statutory Actions
1-,..,,.,.,,..;REAL,=~P;;.;R;;.;;O;;.;P;;.;ER=TY;;.;;.._---,1_..,..,.,,c;;,IVIL;._;,;;;..;;Rl~
                                                       ,;;.;;;;BT~
                                                       G      S.,...._i--,;;.P.;;;RIS~O;.;;NE.=R.;;;PE;;.;;;.;TITI;..;;..;;.;;;O;;.;
                                                                                                     N
                                                                                                     '-"S
                                                                                                        ~~     790Other Labor Litigation     O    865 RSI (405(g))               891 Agricultural Ac.ts
    210 Land Condemnat ion              440 Other Civil Rights               Habeas Corp us:                   79 1 Employee Retirement                                          893 Environmental Matters
D   220 Foreclosure                     441 Voting                           463 Alien Detainee                     Income Security Act           FEDERAL TAX SUITS              895 Freedom of Information
                                                                                                                                             D
§   230 Rent Lease & Ejectment
    240 Torts to Land
    245 Tort Product Liability
0 290 All Other Real Property
                                        442 Employment
                                        44 3 Housing/
                                            Accommodat ions
                                        445 Amer w/Disabilit ies -
                                                                             510 Motions to Vacate
                                                                                  Sentence
                                                                             530 General
                                                                             535 Death Penalty             1---~I\Bfl==c"'RA,...,.,TI=o""
                                                                                                                                    N,----1
                                                                                                                                             D
                                                                                                                                                  870 Taxes (US Plaintiff
                                                                                                                                                      or Defendant)
                                                                                                                                                  871 IRS-Third Party
                                                                                                                                                       26 USC 7609
                                                                                                                                                                                      Act
                                                                                                                                                                                 896 Arbitration
                                                                                                                                                                                 899 Administrat ive Procedure
                                                                                                                                                                                     Act/Review or Appeal of
                                             Employment                      Other:                            462 Naturalization Application                                        Agency Decision
                                        446 Amer w/Disabilit ies -           540 Mandamus & Other              465 Other hnmigration                                             950 Constitutionality of
                                             Other                           550 Civil Rights                       Actions                                                           State Statutes
                                        448 Education                        555 Prison Condition
                                                                             560 Civil Detainee -
                                                                                  Conditions of
                                                                                  Confinement
 V. ORIGIN (Placean "X"inOneBoxOnl y)
~ I Original             D2      Removed from                           Remanded from            D                     D
                                                                                                         4 Reinstated or          5 Transferred from    D       6 Multidistrict       D    8 Mu!tidistrict
        Proceeding               State Court                         Appellate Court                 Reopened                   Another District                Litigation -                Litigation -
                                                                                                                                (specify )                      Transfer                    Direct File
                                           Cite the U .S . Civil Statute under which you are filing (Donot citejurisdictionalsflllutes unless diversity
                                                                                                                                                      ):
                                           28 U.S .C. § 1332(Cl)(2); 18 U.S .C . § 1962
VI . CAUSE OF ACTION                       Brief description of cause :
                                           Violations of RCW § 4.24 .070 ; § 19.86.010; 18 U.S.C. § 1962

VII. REQUES TED IN                         ~ CHECK IF THIS IS A CLASS ACTION                            DEMAND S                                     CHECK YES only if demanded in complaint:
     COMPLAINT :                             UNDER RULE 23 , F.R .Cv .P.                                TO BE DETERMINED                             JURYDE:MAND:                 ~ Yes      O No

VIII . RELAT ED CASE(S)
                                               (See instroctions):
       IF ANY                                                         JUDGE           Hon . Robe rt Lasn iK                                      DOCKET NUMBER           See Attachment A
                                                                                      ----------------
DATE                                                                      SIGNATURE OF ATTORNEY OF RECORD
 11/10/2023                                                              Isl Toclel Logan
FOR OFFICE USE ONLY

    RECEIPT#                      AMOUNT                                      APPL YING IFP                                    JUDGE                             MAG JUDGE
JS 44 Reverse (Rev 04/21)       Case 2:23-cv-01727 Document 1-1 Filed 11/10/23 Page 2 of 3
                    INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)   Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
        only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
        the official, giving both name and title.
  (b)   County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
        time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
        condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)   Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
        in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statute.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
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                          ATTACHMENT A
     Caption           Case Number      Date Filed     Assigned            Status
                                                         Jud2e
Ferrando v. Zynga     No. 22-cv-214-    02/24/22     Hon. Robe1i   Final Approval of
Inc.                  RSL(W.D.                       S. Lasnik     Class Action
                      Wash.)                                       Settlement granted
                                                                   12/1/2022(Dkt. #63)

Kater v. Churchill    No. 15-cv-612-    04/17/2015   Hon. Robe1i   Final Approval of
Downs Inc.            RSL(W.D.                       S. Lasnik     Class Action
                      Wash.)                                       Settlement granted
                                                                   02/11/2021(Dkt.
                                                                   #289)

Thimmegowda v.        No. 19-cv-199-    02/11/2019   Hon. Robe1i   Final Approval of
Big Fish Games,       RSL(W.D.                       S. Lasnik     Class Action
Inc.                  Wash.)                                       Settlement granted
                                                                   02/11/2021(Dkt.
                                                                   #222)

Wilson v. Huuuge,     No. 18-cv-5276-   04/06/2018   Hon. Robe1i   Final Approval of
Inc.                  RSL(W.D.                       S. Lasnik     Class Action
                      Wash.)                                       Settlement granted
                                                                   02/11/2021(Dkt.
                                                                   #140)

Wilson v. Playtika,   No. 18-cv-5277-   04/06/2018   Hon. Robe1i   Final Approval of
Ltd.                  RSL(W.D.                       S. Lasnik     Class Action
                      Wash.)                                       Settlement granted
                                                                   02/11/2021(Dkt.
                                                                   #164)
Reed v. Scientific    No. 18-cv-565-    04/17/2018   Hon. Robe1i   Final Approval of
Games C01p.           RSL(W.D.                       S. Lasnik     Class Action
                      Wash.)                                       Settlement granted
                                                                   08/12/2022(Dkt.
                                                                   #197)

Larsen v. PTT,        No. 18-cv-5275-   04/06/2018   Hon. Robe1i   Pending(class
LLC                   RSL(W.D.                       S. Lasnik     ce1iification granted
                      Wash.)                                       (Dkt. #170))

Benson v.             No. 18-cv-525-    04/09/2018   Hon. Robe1i   Final Approval of
DoubleDown            RSL(W.D.                       S. Lasnik     Class Action
Interactive, LLC      Wash.)                                       Settlement granted
                                                                   06/1/2023 (Dkt. #549)
